Case 1:19-cr-00386-PKC Document 53-3 Filed 09/08/22 Page 1 of 9 PageID #: 158




                            EXHIBIT C
                            (Redacted)
Case 1:19-cr-00386-PKC Document 53-3 Filed 09/08/22 Page 2 of 9 PageID #: 159




                                                                   MG001286
Case 1:19-cr-00386-PKC Document 53-3 Filed 09/08/22 Page 3 of 9 PageID #: 160




                                                                   MG001287
Case 1:19-cr-00386-PKC Document 53-3 Filed 09/08/22 Page 4 of 9 PageID #: 161




                                                                   MG001288
Case 1:19-cr-00386-PKC Document 53-3 Filed 09/08/22 Page 5 of 9 PageID #: 162




                                                                   MG001289
Case 1:19-cr-00386-PKC Document 53-3 Filed 09/08/22 Page 6 of 9 PageID #: 163




                                                                   MG001290
Case 1:19-cr-00386-PKC Document 53-3 Filed 09/08/22 Page 7 of 9 PageID #: 164




                                                                   MG001291
Case 1:19-cr-00386-PKC Document 53-3 Filed 09/08/22 Page 8 of 9 PageID #: 165




                                                                   MG001292
Case 1:19-cr-00386-PKC Document 53-3 Filed 09/08/22 Page 9 of 9 PageID #: 166




                                                                   MG001293
